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     Eric C. Rassbach – No. 288041
2    Lori Windham pro hac vice
     Diana Verm Thomson pro hac vice
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11   Counsel for Defendant-Intervenors
     Little Sisters of the Poor, Jeanne Jugan Residence and
12   Little Sisters of the Poor, St. Mary’s Home

13                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
14

15   STATE OF CALIFORNIA, et al.,                               Case No. 4:17-cv-05783-HSG
                                                  Plaintiffs,
16                                                              DEFENDANT-INTERVENOR
            v.                                                  LITTLE SISTERS OF THE
17                                                              POOR, JEANNE JUGAN
     XAVIER BECERRA, Secretary of Health and                    RESIDENCE’S NOTICE OF
18   Human Services, et al.,                                    WITHDRAWAL
                                                Defendants,
19   and                                                        Date Filed: January 25, 2023
                                                                Judge: Hon. Haywood S. Gilliam, Jr.
     THE LITTLE SISTERS OF THE POOR,
20
     JEANNE JUGAN RESIDENCE, and
     THE LITTLE SISTERS OF THE POOR,
21
     ST. MARY’S HOME,
22                                Defendant-Intervenors.

23                                                    1
        Defendant-Intervenor Little Sisters of the Poor, Jeanne Jugan Residence’s Notice of Withdrawal
                                              (4:17-cv-05783-HSG)
         Case 4:17-cv-05783-HSG Document 487 Filed 01/25/23 Page 2 of 2




1       Per the Court’s order of January 19, 2023, ECF No. 486, Defendant-Intervenor Little

2    Sisters of the Poor, St. Mary’s Home (“Little Sisters Chicago”) has been granted

3    intervention. Accordingly, Defendant-Intervenor Little Sisters of the Poor, Jeanne Jugan

4    Residence (“Little Sisters San Pedro”), hereby withdraws from this action. As agreed in

5    its motion papers, Little Sisters Chicago adopts all of Little Sisters San Pedro’s prior

6    pleadings and briefing in this case. See ECF No. 480 at 1.

7

8    Dated: January 25, 2022                     Respectfully submitted,

9
                                                 /s/ Mark Rienzi
10                                               Mark Rienzi pro hac vice
                                                 Eric C. Rassbach – No. 288041
11                                               Lori Windham pro hac vice
                                                 Diana Verm Thomson pro hac vice
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16                                               Counsel for Defendant-Intervenors Little Sisters
                                                 of the Poor, Jeanne Jugan Residence and Little
17                                               Sisters of the Poor, St. Mary’s Home

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23                                                    2
        Defendant-Intervenor Little Sisters of the Poor, Jeanne Jugan Residence’s Notice of Withdrawal
                                              (4:17-cv-05783-HSG)
